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AO 245B (Rev. 12/03)(VAEDrev. 2) Sheet 1 - Judgment in a Criminal Case




                                           UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                       Newport News Division
UNITED STATES OF AMERICA
                      V.                                                        Case Number:       4:17cr76-001

ELMER EMMANUEL EYCHANER, III                                                    USM Number:         57785-083
                                                                                Defendant's Attorney:        Andrew Grindrod
Defendant.                                                                                                   Amanda Conner




                                            JUDGMENT IN A CRIMINAL CASE
    The defendant was found guilty by a jury on Counts 2,3,4 after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of the followingcounts involving the indicatedoffenses.


Title and Section                      Nature of Offense                                  Offense Class        Offense Ended      Count

T. 18, use Section 1466A(a)(l) and     Attempted Receipt Obscene Visual Representation    Felony               November 17,2016    2
T. 18, use Section 2252A(b)(1)         of the Sexual Abuse of Children

T. 18, use Section 1519                Destruction of a Tangible Object to Impede a       Felony               November 17,2016
                                       Federal Investigation

T. 18, use Section 1512(c)(1)          Obstruction   of   Justice-Attempted    Evidence   Felony               November 17,2016
                                       Tampering



   As pronounced on August23, 2018, the defendant is sentenced as provided in pages2 through 7 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED thatthe defendant shall notify the United States Attorney for this district within 30 days of anychange
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed bythis judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.


   Signed this                  day of August, 2018.




                                                                              Mark S. Davis
                                                                              United States District Judge
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